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                    IN THE UNITED STATES DISTRICT COURT
                    FOR THE EASTERN DISTRICT OF VIRGINIA
                             NORFOLK DIVISION

DR. TAYAB WASEEM,
                      Plaintiff,

               v.                                      CIVIL NO. 2:23-cv-00220


MOHAMMAD EMAD MOSTAQUE,                                JURY TRIAL DEMANDED


STABILITY AI, INC.,
    a Delaware Corporation

and

STABILITY AI LTD.,
    a UK corporation,

               Defendants.

                 RULE 41 VOLUNTARY DISMISSAL WITHOUT PREJUDICE
       Dr. Tayab Waseem (“Dr. Waseem”), by counsel, pursuant to Fed. R. Civ. P. 41(a)(1)(A)(i),

voluntarily dismisses this action without prejudice.

Dated: May 18, 2023                                         DR. TAYAB WASEEM


                                                            By:   /s/George H. Bowles
                                                                  Of Counsel

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